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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
_______________________________________________
Long Painting Company                                                  :
_______________________________________________ :
                                             Plaintiff(s),             :
                                                                       :   ____
                                                                           17   Civ. ______
                                                                                     9975   (KBF)
                           -v-                                         :
_______________________________________________ :
General   Electric Company    and                                          SCHEDULING ORDER
_______________________________________________
Alstom Renewable US LLC                                                :
                                             Defendant(s).             :
---------------------------------------------------------------------- X
KATHERINE B. FORREST, District Judge:

The parties propose the following schedule for this matter:

    1.   All parties [do     / do not ✔ ] consent to conducting all further
         proceedings before a United States Magistrate Judge, including motions and
         trial. 28 U.S.C. § 636(c). The parties are free to withhold consent without
         adverse substantive consequences. 1

    2.   Amended pleadings may not be filed, and no party may be joined, without
         leave of Court more than 20 days after the filing of this Order or the filing of
         a responsive pleading, whichever occurs first.

    3.   Close of fact discovery: ___________________.
                                  October 1, 2018      [within 4 months unless the
         case is particularly complex]

    4.   Close of expert discovery: ___________________.
                                    October 26, 2018     [25 days after the close of
         fact discovery; the parties are to negotiate interim dates regarding
         expert witnesses]

         The parties contemplate experts in this matter for the following subject(s):
         _________________________________________________.

    5.   [For F.L.S.A. actions only] Plaintiff(s) [do         / do not      ] anticipate
         making a motion for conditional certification of a collective action under 29
         U.S.C. § 216(b). Plaintiff(s) shall include a proposed notice with the opening
         brief.




1If all parties so consent, they should execute a consent form (available at http://www.nysd.uscourts.
gov/file/forms/consent-to-proceed-before-us-magistrate-judge) and submit it to the Court via e-mail,
along with this proposed order.
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                 Section 216(b) proposed briefing schedule:
                 Opening:     __________________ [30 days after initial conference]
                 Opp’n:       __________________ [21 days after opening brief]
                 Reply:       __________________ [7 days after opposition brief]

    6. The parties [do          / do not         ] anticipate making dispositive motions.
       The contemplated dispositive motion(s) is/are a motion(s)
       _____________________________________________________________.
       Both parties may make dispositive motions
              Proposed briefing schedule:
              Opening:       __________________
                              October 15, 2018        [no later than item 3]
              Opp’n:         __________________ [21 days after opening brief]
                              November   5, 2018
              Reply:         __________________
                              November 12, 2018       [7 days after opposition brief]
              Last dates to file; motions may be brought at any time.

    7. Trial [will           / will not    ✔ ] be before a jury. 2
             DO NOT FILL IN BELOW. THE COURT WILL SET ITEMS 7-10.

    8. The next status conference is set for ________________ at ________.

    9. Pretrial materials, including the Joint Pretrial Order (“JPTO”), are due:
       ______________________.

    10. The Final Pretrial Conference (“FPTC”) is set for ____________ at _______.

        Motions in limine are due two weeks before FPTC; oppositions are due one
        week later. Daubert motions are due four weeks before FPTC; oppositions
        are due two weeks later. (No replies.) 3

    11. Trial in this matter shall commence on ______________. Trial is anticipated
        to take ______________ [days / weeks].

        Settlement discussions must occur in parallel to this schedule
        (schedule will not be adjourned, except in very unusual situations,
        for settlement discussions).

        SO ORDERED.
        Dated: New York, New York
        _______________, 2018
                                                      __________________________________
                                                          KATHERINE B. FORREST
                                                         United States District Judge

2
  Checking this box does not constitute a formal jury demand under Fed. R. Civ. P. 38(b). It serves a purely
administrative function.
3 Deadlines for motions in limine and Daubert motions are generalized and subject to change. The

parties may request modified schedule if desired.
